
549 So.2d 742 (1989)
R.H., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 89-00111.
District Court of Appeal of Florida, Second District.
September 27, 1989.
*743 James Marion Moorman, Public Defender, and Megan Olson, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Robert J. Krauss, Asst. Atty. Gen., Tampa, for appellee.
ALTENBERND, Judge.
The appellant was adjudicated by the trial court to have committed a delinquent act, obstructing an officer without violence. We affirm that adjudication. In the order of adjudication, however, the appellant was placed on community control for an indeterminate time period. While a child may be committed to HRS for an indeterminate period of community control, the indeterminate period must not exceed the maximum term of imprisonment which the child could receive if he or she were an adult. § 39.11(4), Fla. Stat. (1987); C.P. v. State, 543 So.2d 867 (Fla. 2d DCA 1989). Since the maximum term of imprisonment for obstructing an officer without violence, as a first-degree misdemeanor, is one year, on remand the order must be modified to limit the period of community control to a period not exceeding one year. §§ 843.02, 775.082(4)(a), Fla. Stat. (1987).
Affirmed in part, reversed in part, and remanded for proceedings consistent herewith.
RYDER, A.C.J., and BOARDMAN, EDWARD F., (Ret.) J., concur.
